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                                                       U.S. Department of Justice


                                                       United States Attorney
                                                       Eastern District of New York
NJM                                                    271 Cadman Plaza East
F. #2016R00119                                         Brooklyn, New York 11201



                                                       October 26, 2022

By ECF

The Honorable LaShann DeArcy Hall
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

                   Re:    United States v. Gino Gabrielli
                          Criminal Docket No. 16-123 (LDH)

Dear Judge DeArcy Hall:

                The government respectfully writes to request an adjournment of the date for the
government’s sentencing submission, which is presently due on October 28, 2022. The
undersigned Assistant United States Attorney was ill and unable to work on the sentencing
submission for two weeks in October 2022. Accordingly, the government requests a one-week
extension until November 4, 2022. This extension would not affect the date of the defendant’s
letter, which is due November 30, 2022.
                   The government has conferred with counsel for the defendant, who does not object
to this request.


                                                       Respectfully submitted,

                                                       BREON PEACE
                                                       United States Attorney

                                                By:     /s/
                                                       Nicholas J. Moscow
                                                       Assistant U.S. Attorney
                                                       (718) 254-6212

Cc:     Samuel Braverman, Esq. (by email)
        U.S. Probation Officer Shayna Bryant (by email)
